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   IT IS ORDERED as set forth below:



   Date: November 13, 2018
                                                     _____________________________________
                                                                Wendy L. Hagenau
                                                           U.S. Bankruptcy Court Judge

_______________________________________________________________



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:                                       :      CASE NO. 15-53700-WLH
                                             :
BRENDA K. ROBERTSON,                         :      CHAPTER 7
                                             :
         Debtor.                             :
                                             :

      ORDER GRANTING TRUSTEE’S MOTION FOR AUTHORITY TO VOTE
   MEMBERSHIP INTEREST OF GILBERT VENTURES, LLC TO: (1) SELL SOLE
   ASSET OF LIMITED LIABILITY COMPANY; (2) DISTRIBUTE THE ASSETS OF
    THE LIMITED LIABILITY COMPANY; AND (3) WIND-UP THE FINANCIAL
              AFFAIRS OF THE LIMITED LIABILITY COMPANY

         October 1, 2018, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate (the “Bankruptcy Estate”) of Brenda K. Robertson (“Debtor”), filed a Trustee’s Motion

for Authority to Vote Membership Interest of Gilbert Ventures, LLC to: (1) Sell Sole Asset of

Limited Liability Company; (2) Distribute the Assets of the Limited Liability Company; and (3)

Wind-up the Financial Affairs of the Limited Liability Company [Doc. No. 314] (the “Motion”),

requesting an order from the Court, among other things, authorizing Trustee to vote the 100%




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membership interest of the Bankruptcy Estate in Gilbert Ventures, LLC (“Gilbert Ventures”)

to: (a) consummate the sale of Gilbert Ventures’ interest in that certain unimproved real property

located at the corner of Anvil Block and Bouldercrest Road, Ellenwood, Georgia more

particularly described as Lots 1-7 of Land Lot 215 of the 12th District in Clayton County,

Georgia; (b) pay all creditors of Gilbert Ventures; (c) wind-up the financial affairs of Gilbert

Ventures; and (d) pay all remaining sale proceeds to the Bankruptcy Estate as the 100% owner of

Gilbert Ventures.1

        On October 3, 2018, Trustee filed a notice of hearing [Doc. No. 318] (the “Notice”)

setting a hearing on the Motion on November 8, 2018 (the “Hearing”). Counsel for Trustee

certifies that he served the Notice on all requisite parties in interest. [Doc. No. 321].

        No creditor or party in interest filed a response in opposition to the relief that Trustee

requests in the Motion.

        Counsel for Trustee and counsel for Debtor appeared at the Hearing. No creditor or party

in interest appeared to oppose the relief requested in the Motion.

        The Court having considered the Motion, the entire record in this matter and the

Adversary Proceeding, and the statements on the record at the Hearing; for all those reasons set

forth on the record at the Hearing; and for good cause shown, it is hereby

        ORDERED that the Motion is GRANTED: Trustee is authorized to sign any and all

documents necessary to: (a) consummate the sale of Gilbert Ventures’ interest in that certain

unimproved real property located at the corner of Anvil Block and Bouldercrest Road,



1
      Capitalized terms not defined in this Order shall have the meanings ascribed to them in
the Motion.


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Ellenwood, Georgia more particularly described as Lots 1-7 of Land Lot 215 of the 12th District

in Clayton County, Georgia; (b) pay all creditors of Gilbert Ventures; (c) wind-up the financial

affairs of Gilbert Ventures; and (d) pay all remaining sale proceeds to the Bankruptcy Estate as

the 100% owner of Gilbert Ventures. It is further

          ORDERED that Trustee is directed to file with the Court a report of sale within 10

business days of Trustee’s closing the sale of any property interests of Gilbert Ventures. It is

further

          ORDERED that, within 10 business days of Trustee’s beginning the winding-up of the

financial affairs of Gilbert Ventures, Trustee is directed to report to the Court his beginning of

any such process and any other details regarding the same. It is further

          ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce

this Order, and (ii) enter such other and further orders as may be necessary, just, or proper as an

aid to enforcement or implementation of this Order.

                                    [END OF DOCUMENT]

Order prepared and presented by:

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Attorneys for Trustee

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Identification of parties to be served:

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